Case: 1:05-cv-01504-PAG Doc #: 96 Filed: 11/17/06 1 of 7. PageID #: 1381




                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



Calvin R. Pettrey, and                        )     CASE NO. 1:05-cv-1504
Nikki Pettrey                                 )
                                              )
                      Plaintiffs,             )     JUDGE PATRICIA A. GAUGHAN
                                              )
               Vs.                            )
                                              )
Enterprise Title Agency, Inc.,                )
First USA Title Agency, LP,                   )     Memorandum Opinion and Order
John DeSantis, and                            )
John Doe(s)                                   )
                                              )
                      Defendants.             )




       INTRODUCTION

       Plaintiffs Calvin and Nikki Pettrey have filed a Motion to Dismiss Joint Counterclaims,

or in the Alternative, to Strike Portions Thereof (Doc. 23). This case arises from Defendants

Enterprise Title Agency, Inc. (“Enterprise”) and John DeSantis allegedly setting up sham

companies such as Defendant First USA Title Agency, LP (“First USA”) to cover up the

improper payment of referral fees to DeSantis. For the reasons that follow, the motion is

GRANTED.


                                          1
Case: 1:05-cv-01504-PAG Doc #: 96 Filed: 11/17/06 2 of 7. PageID #: 1382




        BACKGROUND

        Plaintiffs Calvin and Nikki Pettrey allege the following in their Complaint. Plaintiffs

purchased a home in June 2004. Defendant DeSantis was the real estate agent for the

transaction. He told Plaintiffs that the sellers insisted they use Defendant Enterprise as the

settlement agent for the transaction while the sellers were told that Plaintiffs insisted on

Enterprise. At the closing Plaintiffs learned that Defendant First USA1 was owned by DeSantis

and Enterprise, and would be paid to perform certain services related to the closing. This was

outlined on a HUD-1 Settlement Statement.

        Plaintiffs contend that the HUD-1 Settlement Statement concealed the true nature of First

USA, which performed no services and added no value to the transaction. All services credited

to First USA were instead performed by Enterprise. Fees paid to First USA were in fact a

kickback or illegal referral fee paid by Enterprise to DeSantis.

        Plaintiffs bring claims for Violation of the Real Estate Settlement Procedures Act

(“RESPA”), 12 U.S.C. § 2607 (Count I), Negligent Misrepresentation (Count II), Violation of

the Consumer Sales Protection Act (Count III) and Civil Conspiracy (Count IV). Defendants

filed an answer and counterclaims. Defendants bring five counterclaims, the first four of which

seek Declaratory Judgment with respect to RESPA (Count I), the Consumer Sales Protection Act

(Count II), Negligent Misrepresentation (Count III) and Civil Conspiracy (Count IV). All four

of these counterclaims have the following identical allegations:

•       The Affiliated Business Arrangement which exists between Defendants is lawful,
        recognized and approved by governing law.


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         Such entities are generally referred to as “Affiliated Business
         Arrangements” or AfBAs.

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Case: 1:05-cv-01504-PAG Doc #: 96 Filed: 11/17/06 3 of 7. PageID #: 1383




•      A dispute and actual controversy has arisen between the Plaintiffs and Defendants.

•      Defendants request a declaration from this Court that the Affiliated Business
       Arrangement applicable to the Pettrey transaction and all such similar transactions are in
       compliance with governing law.

•      Defendants further request a declaration that they are entitled to reimbursement of their
       reasonable attorneys fees, costs and expenses associate in defending themselves in this
       suit.

(Doc. 15). Plaintiffs’ motion seeks to dismiss or strike all of these claims on the basis that they

are a mirror-image of Plaintiffs’ claims and are therefore redundant.

       Defendants have also filed a counterclaim for Frivolous Conduct (Count V). This

counterclaim focuses solely on Plaintiffs’ Complaint: “Serious Allegations of fraud,

concealment, deception, conspiracy, organized crime and malicious conduct have been alleged

throughout the Complaint. These allegations are absolutely false and were not asserted in good

faith.” The counterclaim continues that “[t]he abuse allegations are frivolous and are not and

were not alleged in good faith. . . . As a result, Defendants request that Plaintiffs be held liable

for frivolous conduct and order Plaintiffs to reimburse Defendants for having to defend

themselves against these frivolous allegations.”

       Plaintiffs also move to dismiss Count V on the basis that it fails to state a claim upon

which relief can be granted.

       STANDARD OF REVIEW

       When considering a motion to dismiss pursuant to Rule 12(b)(6) of the Federal Rules of

Civil Procedure, the allegations of the pleading must be taken as true and construed liberally in

favor of the nonmoving party. Lawrence v. Chancery Court of Tenn., 188 F.3d 687, 691 (6th

Cir. 1999). Notice pleading requires only that the opposing party be given “fair notice of what

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Case: 1:05-cv-01504-PAG Doc #: 96 Filed: 11/17/06 4 of 7. PageID #: 1384




the plaintiff’s claim is and the grounds upon which it rests.” Conley v. Gibson, 355 U.S. 41, 45-

46 (1957). However, the pleading must set forth “more than the bare assertion of legal

conclusions.” Allard v. Weitzman (In Re DeLorean Motor Co.), 991 F.2d 1236, 1240 (6th Cir.

1993). Under Rule 12(f), “the court may order stricken from any pleading any insufficient

defense or any redundant, immaterial, impertinent, or scandalous matter.”

       DISCUSSION

       Plaintiffs first argue that Defendants’ “Frivolous Conduct” claim must be dismissed. The

claim is a transparent reference to Ohio Revised Code Section 2323.51, which permits a court to

award reasonable attorneys fees to those damaged by frivolous civil actions or litigation conduct.

The Sixth Circuit has already rejected the argument that Section 2323.51 supports a claim in

federal court. First Bank of Marietta v. Hartford Underwriters Ins. Co., 307 F.3d 501, 528-29

(6th Cir. 2002). Federal courts sitting in diversity apply state substantive law and federal

procedural law. Id. at 528 (citing Erie Railroad Co. v. Tompkins, 304 U.S. 64 (1938)). State

laws creating a right to attorneys fees are generally considered substantive and will typically be

applied in federal cases; however, where a federal Rule speaks to the same issue the Court must

apply only the Rule. Id. at 528-29. In Marietta, the Sixth Circuit examined Section 2323.51 and

noted that it “allows the award of attorneys fees based upon the conduct of the parties and the

attorneys in filing and litigating the claim, rather than for success on the underlying merits of the

claim.” Id. at 529. Accordingly, “the statute is procedural in nature and, as such, under Erie,

Rule 11 should govern the award of sanctions for frivolous conduct.” Id.

       Plaintiffs contend, and Defendants do not dispute, that Rule 11 cannot support a

counterclaim for attorneys fees. See, e.g., Lenoir v. Tannehill, 660 F. Supp. 42, 44 (S. D. Miss.

1986) (concluding that “Rule 11 was not adopted to be used as a seedling which, with a little
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Case: 1:05-cv-01504-PAG Doc #: 96 Filed: 11/17/06 5 of 7. PageID #: 1385




fertilization by creative legal minds, would grow into a hybrid of the bad faith tort”); Ridder v.

City of Springfield, 109 F.3d 288 (6th Cir. 1997) (discussing the proper procedures to bring a

Rule 11 motion). Defendants thus rely on Chambers v. NASCO, wherein the Supreme Court

confirmed the federal courts’ inherent power to sanction bad faith litigation conduct. 501 U.S.

32 (1991). Although the Court does not disagree that such power exists, it is not entirely clear

how Defendants’ observation is relevant to this motion. At the appropriate time, Defendants

might wish to ask the Court to exercise its inherent power.2 However, the Court’s inherent

power does not create a counterclaim for frivolous conduct.

       The next issue is Defendants’ four declaratory judgment counterclaims. Plaintiffs argue

that the counterclaims are nothing more than a mirror-image of the claims in their Complaint,

and as such, are redundant and should be stricken. A number of courts agree that mirror-image

counterclaims are improper. Tenneco v. Saxony Bar & Tube, Inc., 776 F.2d 1375, 1379 (7th Cir.

1985); United States v. Zanfel, 353 F. Supp. 2d 962, 964 (N.D. Ill. 2005); Green Bay Packaging,

Inc. v. Hoganson & Assocs., Inc., 362 F. Supp. 78, 82 (N.D. Ill. 1973). However, other courts

have come to the opposite conclusion when faced with a motion to dismiss or strike similar



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         Defendants state, without any further explanation, that “an award
         of fees and expenses is appropriate at this juncture as the Pettreys’
         complaint was filed in bad faith.” The Court recommends to
         Defendants the Marietta and Chambers decisions, which outline in
         detail the showing necessary for sanctions. Defendants also argue
         that the Court should not strike their requests for attorneys fees
         under Rule 12(f). However, the frivolous conduct counterclaim
         must be dismissed for failure to state a claim under Rule 12(b)(6)
         and there is no reason to consider Rule 12(f). To the extent
         Defendants are arguing that their requests for attorneys fees in
         conjunction with their declaratory judgment counterclaims should
         not be stricken, the matter is moot because the declaratory
         judgment counterclaims must also be dismissed.
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Case: 1:05-cv-01504-PAG Doc #: 96 Filed: 11/17/06 6 of 7. PageID #: 1386




counterclaims. Dominion Elec. Mfg. Co. v. Edwin L. Wiegand Co., 126 F.2d 172, 175 (6th Cir.

1942); United Wats, Inc. v. Cincinnati Ins. Co., 971 F. Supp. 1375, 1381 (D. Kansas 1997); Iron

Mountain Security Storage Corp. v. Am. Specialty Foods, Inc., 457 F. Supp. 1158, 1162 n.3

(E.D. Pa. 1978); Jungersen v. Miller, 125 F. Supp. 846 (N.D. Ohio 1954); Int’l Woodworkers of

Am. v. McCloud River Lumber Co., 119 F. Supp. 475, 488 (N.D. Cal. 1953).

       These cases are not necessarily at odds. As one commentator explained, courts should

focus on whether the counterclaims serve any useful purpose. Wright, Miller & Kane, 6 Federal

Practice & Procedure 2d § 1406. In the past, mirror-image declaratory judgment counterclaims

served the purpose of preventing tactical dismissals by plaintiffs. However, in light of the

protections of current Rule 41(a) this is less likely to occur, so long as the plaintiffs’ claims and

the defendants’ counterclaims are truly identical. Because it may be difficult in most instances

to determine whether counterclaims are identical early in litigation, “the safer course for the

court to follow is to deny a request to dismiss a counterclaim for declaratory relief unless there is

no doubt that it will be rendered moot by the adjudication of the main action.” Id.

       Nonetheless, courts should dismiss or strike a redundant counterclaim when “it is clear

that there is a complete identity of factual and legal issues between the complaint and the

counterclaim.” Aldens, Inc. v. Israel Packel, 524 F.2d 38, 51-52 (3d Cir. 1975); Zanfel, 353 F.

Supp. 2d at 965 (finding a counterclaim “‘essentially identical’ to the government’s complaint

except that it seeks the opposite effect”). Here, there is a complete identity of factual and legal

issues and the Court harbors no doubt whatsoever that Defendants’ declaratory judgment

counterclaims will be rendered moot by the adjudication of Plaintiffs claims. Defendants seek

nothing more than a proclamation that the acts alleged by Plaintiffs are not in fact unlawful.

This is not a patent or trademark action where a court could find noninfringement without
                                            6
Case: 1:05-cv-01504-PAG Doc #: 96 Filed: 11/17/06 7 of 7. PageID #: 1387




adjudicating the validity of the underlying intellectual property, thus leaving the defendant in

fear of future actions.3 Dominion, 126 F.2d at 175; see also Trico Prods. Corp. v. Anderson Co.,

147 F.2d 721, 723 (7th Cir. 1945). Nor is it a breach of contract action where the Court could

find the contract not breached without reaching contract issues pressed by defendants. Rather, in

this case Defendants have failed to identify a single factual or legal issue that is not identical.4

Accordingly, no useful purpose would be served by retaining Defendants’ declaratory judgment

counterclaims.

        CONCLUSION

        For the foregoing reasons, the Court GRANTS Plaintiffs’ motion.

                 IT IS SO ORDERED.



                                       /s/ Patricia A. Gaughan
                                       PATRICIA A. GAUGHAN
                                       United States District Judge
     Dated: 11/17/06


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         Defendants claim that Dominion precludes dismissal. However,
         Dominion was a typical intellectual property case. The defendant
         in Dominion counterclaimed “that the trademark be held invalid or
         restricted, . . . that an unfair and improper purpose had been made
         of it . . . .” 126 F.2d at 173. A verdict of noninfringement was not
         enough: “He wishes to be freed from the restrictions of an invalid
         patent or trademark, and he represents not only himself, but, in a
         sense, also the public which is likewise excluded from the field of
         monopoly.” Id. at 175. In short, the Dominion Court simply found
         that the claims and counterclaims were not in fact identical.
         Jungersen v. Miller, a case from this district, was also a patent
         case. 125 F. Supp. at 846.
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         The only difference between the claims and counterclaims that
         Defendants can identify is that the counterclaims seek a
         declaratory judgment. That is, of course, the whole point of a
         mirror-image declaratory judgment action. It is not a relevant
         difference for purposes of the Court’s analysis.
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